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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig MDL No. 2179
“Deepw. iter Horizon” in the Gulf
of Mexico, on April 20, 2010

SECTION: J
These Pleading : apply to: All Cases
JUDGE BARBIER
(Including No. 12-970)
MAGISTRATE SUSHAN

DECLARATION OF STEPHEN J. HERMAN

I, Stephen J Herman, respectfully declare, under penalty of perjury, that the following is

true and correct to ‘he best of my knowledge, information and belief:

1. Iam license d to practice law in the State of Louisiana, the United States District Court
for the East :rn District of Louisiana, the U.S. Fifth Circuit Court of Appeals, and the U.S.

Supreme Cc urt.

2. James Park rson Roy and I were appointed Interim Co-Liaison Counsel for the plaintiffs
in the consc lidated cases that were pending in Section J of the Eastern District of
Louisiana 0 1 or around June 4, 2010. We were appointed Plaintiffs Co-Liaison Counsel
in MDL No 2179 on or around August 27, 2010. We were also appointed Interim Co-
Class Coun iel on or around March 5, 2012, and Co-Lead Class Counsel on or around

May 2, 201 ?.
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3. Ihave been advised by Court-approved CPA, Phillip A. Garrett,’ that:

e Common E enefit Attorneys previously paid, and are owed reimbursement for, an initial
$15,000.00 to J.P. Morgan to set up the Qualified Settlement Fund;

e Common 3enefit Attorneys previously paid, and are owed reimbursement for,
$13,475.00 to Mr. Garrett in connection with services associated with the Qualified
Settlement “und, from March 1, 2013 to September 30, 2014;

e Mr. Garrett previously paid, and is owed reimbursement for, $3,600.00 to Adams Jenkins
& Cheathar 1 for the preparation and filing of 2012 and 2013 tax returns for the Qualified
Settlement “und.

4. In addition Mr. Garrett is currently owed a $2,500.00 quarterly fee for October —

December 2014 wih respect to administration of the Qualified Settlement Fund.

Signed, under  enalty of perjury, this 20" day of October, 2014, in New Orleans, Louisiana.

ee

Y Stephen J. Herman

' See PRE-TR \L ORDER NO. 9 [Doc 508] $1(3).

* See Invoice, included with this Declaration and the Plaintiffs’ Motion as Exhibit “A”.
